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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN



HEIDI ERICKSON,
                                                            PRELIMINARY PRETRIAL
                      Plaintiff,
                                                             CONFERENCE ORDER
       v.

                                                                   18-cv-487-slc
ALORICA, INC.,

                      Defendant.




       This court held a telephonic preliminary pretrial conference on September 14, 2018.

Plaintiff appeared by Mohammed Badwan. Defendant appeared by Jennifer Majewski. The

court set the schedule for this case and advised the parties that their conduct throughout this

case is governed by this pretrial conference order and the attachments to it.

       The parties and their attorneys must at all times treat everyone involved in this lawsuit

with courtesy and consideration. The parties must attend diligently to their obligations in this

lawsuit and must reasonably accommodate each other in all matters so as to secure the just,

speedy and inexpensive resolution of each proceeding in this matter as required by Fed. R. Civ.

Pro. 1. Failure to do so shall have consequences.




1.     Amendments to the Pleadings: October 26, 2018

       Amendments to the pleadings may be filed and served without leave of court through the

date set forth above. After that, Federal Rules of Civil Procedure 15 applies, and the later a

party seeks leave of the court to amend, the less likely it is that justice will require the

amendment.
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2.     Disclosure of Experts: Proponents: January 28, 2019

                                 Respondents: March 1, 2019

       All disclosures mandated by this paragraph must comply with the requirements of Rule

26(a)(2). There shall be no third round of rebuttal expert reports. Supplementation pursuant

to Rule 26(e) is limited to matters raised in an expert’s first report, must be in writing and must

be served not later than five calendar days before the expert’s deposition, or before the general

discovery cutoff if no one deposes the expert. Any employee of a party who will be offering

expert opinions during any phase of this case must comply with the requirements of Rule

26(a)(2)(B).

       Failure to comply with these deadlines and procedures could result in the court striking

the testimony of a party’s experts pursuant to Rule 37. The parties may agree between

themselves to modify these deadlines and procedures.




3.     Deadline for Filing Dispositive Motions: March 15, 2019

       Dispositive motions may be filed and served by any party on any date up to the deadline

set above. All dispositive motions must be accompanied by supporting briefs. All responses to

any dispositive motion must be filed and served within 21 calendar days of service of the

motion. Any reply by the movant must be filed and served within 10 calendar days of service

of the response. The parties may not modify this schedule without leave of court.

       If any party files a motion for summary judgment, all parties must follow this court’s

procedure governing such motions, a copy of which is attached to this order. The court will not

consider any document that does not comply with its summary judgment procedure. A party

may not file more than one motion for summary judgment in this case without leave of court.


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       Parties are to undertake discovery in a manner that allows them to make or respond to

dispositive motions within the scheduled deadlines. The fact that the general discovery deadline

cutoff, set forth below, occurs after the deadlines for filing and briefing dispositive motions is

not a ground for requesting an extension of the motion and briefing deadlines.




4.     Discovery Cutoff: April 1, 2019

       All discovery in this case must be completed not later than the date set forth above,

absent written agreement of all parties to some other date. Absent written agreement of the

parties or a court order to the contrary, all discovery must conform with the requirements of

Rules 26 through 37 and 45. Rule 26(a)(1) governs initial disclosures unless the parties agree

in writing to the contrary.

       The following discovery materials shall not be filed with the court unless they concern a

motion or other matter under consideration by the court: interrogatories; responses to

interrogatories; requests for documents; responses to requests for documents; requests for

admission; and responses to requests for admission.

       A party need not file a deposition transcript with the court until that party is using the

deposition in support of some other submission, at which time the entire deposition must be

filed. All deposition transcripts must be in compressed format. The court will not accept

duplicate transcripts. The parties must determine who will file each transcript.

       A party may not file a motion regarding discovery until that party has made a good faith

attempt to resolve the dispute. All efforts to resolve the dispute must be set forth in any

subsequent discovery motion filed with this court. By this order, the court requires all parties




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to a discovery dispute to attempt to resolve it quickly and in good faith. Failure to do so could

result in cost shifting and sanctions under Rule 37.

        This court also expects the parties to file discovery motions promptly if self-help fails.

Parties who fail to do so may not seek to change the schedule on the ground that discovery

proceeded too slowly to meet the deadlines set in this order.

        All discovery-related motions must be accompanied by a supporting brief, affidavit, or

other document showing a prima facie entitlement to the relief requested. Any response to a

discovery motion must be served and filed within seven calendar days of service of the motion.

Replies may not be filed unless requested by the court.




5.      Settlement Letters: June 28, 2019

        Not later than this date, each party must submit a confidential settlement letter to the

clerk of court at clerkofcourt@wiwd.uscourts.gov. The letter should set forth the terms and

conditions upon which that party would settle this case. These letters will not become part of

the record in this case and will not be shared with the presiding judge or opposing counsel.

        The clerk of court may independently initiate settlement discussions with counsel based

upon the settlement letters. A party can also request mediation at any time, before or after

settlement letters are filed, by contacting the clerk of court via e-mail or telephone at 608-261-

5795.




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6.     Rule 26(a)(3) Disclosures and all motions in limine: July 12, 2019

                                                       Responses: July 26, 2019

       The first date is the deadline to file and serve all Rule 26(a)(3) disclosures, as well as all

motions in limine, proposed voir dire questions, proposed jury instructions, and proposed

verdict forms. All responses in opposition are due by the second date. The format for

submitting proposed voir dire questions, jury instructions and verdict forms is set forth in the

Procedures Governing Final Pretrial Submissions, which is attached.

       The parties must submit to chambers courtesy copies of all pretrial submissions by the

close of business on the date they are due.




7.     Telephonic Final Pretrial Conference: August 7, 2019 at 3:00 p.m.

       Counsel for plaintiff is responsible for placing the call to chambers. Any deposition that

has not been filed with the Clerk of Court by the date of the final pretrial conference shall not

be used by any party for any purpose at trial.




8.     Trial: August 12, 2019 at 9:00 a.m.

       Trial shall be to a jury of eight and shall be bifurcated. The parties estimate that this case

will take two days to try. Absent further order of this court, the issues to be tried shall be

limited to those identified by the parties in their pretrial conference report to the court.

       This case will be tried in an electronically equipped courtroom and the parties shall

present their evidence using this equipment. Counsel shall ensure the compatibility of any of




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their personal equipment with the court’s system prior to the final pretrial conference or shall

forfeit their right to use any personal equipment that is not compatible with the court’s system.




9.     Reporting Obligation of Corporate Parties.

       All parties that are required to file a disclosure of corporate affiliations and financial

interest form have a continuing obligation throughout this case promptly to amend that form

to reflect any changes in the answers.




       Entered this 17th day of September, 2018.

                                            BY THE COURT:

                                            /s/

                                            STEPHEN L. CROCKER
                                            Magistrate Judge




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